Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 1 of 41 PageID #: 1



                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRTCT OF RHODE ISLAND


  PETERSON-PURITAN SITE OU 2
  REMEDIAL ACTION GROUP,                         Civil Action No.

                         Plaintiff,

            V


 A AND J TOOL & FINDINGS CO., INC.;
 A.D.T.,INC.; AL CERRONE'S HARRIS AUTO
 SALES, INC.; PRIORITY AUTOMOTIVE, LLC;
 AMERICAN PRODUCTS INC.; AMERICAN
 TEXTILE; ARDAGH GLASS, INC.;
 ARMBRUST INTERNATIONAL, LTD. ;
 CITY OF ATTLEBORO; BANK OF AMERICA;
 BERGER & COMPANY RECYCLING, INC.;
 BUCCI'S AUTO, INC.; BURGER KING
 CORPORATION; CARVEL CORPORATION;
 JOHN D. NOONAN d/b/a CARVEL ICE
 CREAM; CENTRAL FALLS PLATE GLASS                JURY TRIAL REQUESTED
 COMPANY; CENTRAL PAPER CO., INC.;
 CHE, INC.; CHEMART COMPANY;
 CONLON MOVING AND STORAGE INC.;
 CONSOLIDATED CONCRETE; COTES
 MARKET, INC.; COURIER NEV/ MEDIA, INC.;
 CREST MANUFACTURING COMPANY;
 DEL'S LIMITED FAMILY PARTNERSHIP;
 DIAL BATTERY PAINT & AUTO SUPPLY,
 INC.; DIAMOND HILL ANIMAL HOSPITAL
 d/b/a GANSETT ANIMAL HOSPITAL;
 DON,S DINER,INC.; DUFFIN,S PUB; EEM,
 INC.; FRIEND & FAMILY VETERINARY
 SERVICES, INC.; GULLIVER'S TAVERN,
 INCORPORATED; GUYOT BROTHERS
 COMPANY, INCORPORATED; HARMONY
 ENTERPRISES; HUDSON SERVICES, INC.;
 INTERNATIONAL HOUSE OF PANCAKES,
 LLC; J A R BAKERS SUPPLY, INC.; JOHN
 HANCOCK FINANCIAL CORPORATION;
 KFC CORPORATION; ICNG zuCHARDS
 AUTO CENTER; MAJOR ELECTRIC &
 SUPPLY, INC.; MARITIME TNTERNATIONAL,
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 2 of 41 PageID #: 2



 INC. ;MCDONALD'S CORPORATION;                        )
 MCKEE BROS. OIL CORP.; MEL-CO-ED,                    )
 INC.; METACOMET COTINTRY CLUB;                       )
 MICHELLETTI, S RESTAURANT; MINE                      )
 SAFETY APPLIANCES COMPANY, LLC;                      )
 NEW ENGLAND MOTOR FREIGHT, INC.;                     )
 NORTHEAST GOLF PROPERTIES, INC.                      )
 d/b/a NORTON COUNTRY CLUB;                           )
 NORTHPOINT BIBLE COLLEGE;                            )
 PLAINVILLE MACHINE WORKS, INC.;                      )
 RAMA SHOPPING CENTER, INC.;                          )
 READ'S DAIRY,INC.; RHODE ISLAND                      )
 GLASS COMPANY, INC.; RHODE ISLAND                    )
 TEXTILE COMPANY; ROME RESTAURANT,                    )
 INC.; RUBBER COVERED PRODUCTS CO.,                   )
 INC.; RYDER TRUCK RENTAL, INC.;                      )
 RYONE MANUFACTURING CO.; SAVOR                       )
 STREET FOODS, INC.; SCI RHODE ISLAND                 )
  FUNERAL SERVICES ,LLC; STANDISH-                    )
 JOHNSON CO.; GREATREX CORPORATION;                   )
 GARY F. KNIGHT D/B/A STATE LINE                      )
 MOTOR INN; SUPPLY NEW ENGLAND, INC.;                 )
 TAGGART SAND PRODUCTS CORP.;                         )
 TERCAT TOOL AND DYE CO. II, INC.;                    )
 TONY & SONS AUTO SERVICE; V.J.                       )
 BERARDUCCI & SONS; TOWN OF V/EST                     )
 BRIDGEWATER; V/ESTFALL                               )
 MANUFACTURING CO.; WHITTAKER                         )
 CORPORATION; WORTHINGTON                             )
 INDUSTRIES,INC.; and YRC, INC.                       )
                                                      )
                               Defendants.            )
                                                      )

                                         COMPLAINT

          The Peterson-Puritan Site OU 2 Remedial Action Group ("Group") for its complaint

 against Defendants asserts the following:

                                STATEMENT OF THE CASE

          l.     This is a civil action pursuant to the provisions of the Comprehensive

 Environmental Response, Compensation and Liability Act of 1980, as amended,42U.S.C



                                                2
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 3 of 41 PageID #: 3



  $$ 9601 et seq. ("CERCLA") and Rhode Island state law, for the recovery of past and future

 response costs incurred and to be incurred by the Group for response actions undertaken and

 to be undertaken by its members at Operable Unit 2 of the Peterson/Puritan, Inc. Superfund

  Site ("Site") located in Cumberland and Lincoln, Rhode Island. The Group alleges that there

 has been a release and/or threat ofrelease ofhazardous substances, hazardous wastes, and/or

 hazardous materials at andlor from the Site, which hazardous substances, hazardous wastes,

 and/or hazardous materials have contaminated the soil, sediments and water at and in the

 vicinity of the Site and have threatened the public health and the environment. Each of the

 Defendants owned, generated, possessed, arranged for disposal of and/or transported

 hazardous substances, hazardous wastes and/or hazardous materials that were disposed of at

 the Site

            2.   The Group seeks recovery of response costs and/or contribution from each

 Defendant pursuant to Section 107(a) of CERCLA (42 U.S.C. $ 9607(a)); Section 113(f)(1)        of

 CERCLA (42 U.S.C. $ 9613(Ð(1)); the Rhode Island Industrial Property Remediation and

 Reuse Act, R.I. Gen.   L. $$ 23-19.14 et seq.; the Rhode Island Hazardous Waste Management

 Act, R.I. Gen. L. $$ 23-19.1 et seq.; R.I. Gen. L. $$ 46-12,et seq.; R.I. Gen. L. $$ 46-13.1 e/

 seq.; and R.I. Gen L $$ 10-6 et seq. for past and future response costs which the Group and/or

 certain of its members have incurred and will incur in the future at the Site, along with a

 declaration as to each Defendant's liability for future response costs to be incurred by the

 Group at the Site.




                                                 J
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 4 of 41 PageID #: 4



                                JURISDICTION AND VENUE

          3.     This action arises under the Comprehensive Environmental Response,

 Compensation, and Liability Act of the United States (42 U.S.C. $$ 9601 et seq.) and Rhode

 Island statutory law.

          4.     Jurisdiction of this Court is founded upon 28 U.S.C. $ 1331 with supplemental

 jurisdiction of this Court pursuant to 28 U.S.C. $ 1367 and pendent jurisdiction over related

 State law claims.

          5.     This Court also has subject matter jurisdiction over the claim for declaratory

 reliefpursuantto 28 U.S.C. 52201 and42 U.S.C. $ 9613(g)(2).

          6.     Venue is laid in this Judicial District pursuant to 28 U.S.C. $ 1391(b) and 42

 u.s.c.   $ e613(b).

                                            PARTIES

          7.     Plaintiff, Peterson-Puritan Site OU 2 Remedial Action Group is an

 organization duly formed by agreement among its members regarding response actions

 undertaken and to be undertaken at the Site. The members of the Group are listed in Exhibit

 A hereto.

          8.     Defendants are parties who, and/or whose predecessors-in-interest, owned,

 generated, possessed, arranged for disposal and/or transported hazardous substances,

 hazardous wastes and/or hazardous materials disposed of at the Site.

          9.     Defendant A and J Tool & Findings Co., Inc. is a Massachusetts corporation

 with a principal place of business at 6 W. Bacon Street, Plainville, Massachusetts. Based upon

 information and belief, A and J Tool & Findings Co., Inc. is the successor-in-interest to A &    J


 Tool & Findings. A and J Tool & Findings, generated, owned, possessed, or by contract,



                                                 4
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 5 of 41 PageID #: 5



 agreement, or otherwise aranged for disposal or treatment, and/or arranged with a transporter

 for transport for disposal or treatment of at least     3 14   cubic yards of waste containing

 hazardous substances, hazardous wastes, and/or hazardous materials owned or possessed by A

 and J Tool      & Findings at the Site

             10.     Defendant A.D.T., Inc. is a Florida corporation with a principal place       of

 business at 1501 Yamato Road, Boca Raton,         Florida. Based upon information and belief,

 A.D.T., Inc. is a successor-in-interest of R[ Electric Protective. ADT, Inc., generated, owned,

 possessed, or by contract, agreement, or otherwise arranged for disposal or treatment, and/or

 arranged with a transporter for transport for disposal or treatment of at least 1,368 cubic yards

 of waste containing hazardous substances, hazardous wastes, andlor hazardous materials

 owned or possessed by ADT, Inc. at the Site

            1   1.   Defendant Al Cerrone's Harris Auto Sales, Inc. is a Massachusetts corporation

 with   a   principal place of business at 68 Washington Street, South Attleboro, Massachusetts.

 Based upon information and belief,       Al Cerrone's Harris Auto       Sales, Inc. is a successor-in-

 interest of Harris Auto. Harris Auto generated, owned, possessed, or by contract, agreement,

 or otherwise arranged for disposal or treatment, and/or arranged with a transporter for

 transport for disposal or treatment of at least 844 cubic yards of waste containing hazardous

 substances, hazardous wastes, and/or hazardous materials owned or possessed by Harris Auto

 at the Site

            12.      Defendant Priority Automotive,LLC is a Massachusetts corporation with a

 principal place of business at 71 Washington Street, South Attleboro, Massachusetts. Based

 upon information and belief, Priority Automotive, LLC is a successor-in-interest of Harris

 Auto. Harris Auto generated, owned,        possessed, or by contract, agreement, or otherwise



                                                     5
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 6 of 41 PageID #: 6



 affanged for disposal or treatment, and/or arranged with a transporter for transport for disposal

 or treatment of at least 844 cubic yards of waste containing hazardous substances, hazardous

 wastes, andlor hazardous materials owned or possessed by Hanis Auto at the Site.

         13.    Defendant American Products Inc. is a Rhode Island corporation with a

 principal place of business at250 Front Street, Pawtucket, Rhode Island. American Products

 Inc., generated, owned, possessed, or by contract, agreement, or otherwise arranged for

 disposal or treatment, and/or arranged with a transporter for transport for disposal or treatment

 of at least 144 cubic yards of waste containinghazardous substances, hazardous wastes,

 andlor hazardous materials owned or possessed by American Products Inc. at the Site.

        14.     Defendant American Textile is a Massachusetts corporation with a principal

 place of business at 25 Wells Avenue, 4th Floor, Newton Center, Massachusetts. American

 Textile, generated, owned, possessed, or by contract, agreement, or otherwise arranged for

 disposal or treatment, andlor arranged with a transporter for transport for disposal or treatment

 of at least I,640 cubic yards of waste containing hazardous substances, hazardous wastes,

 andlor hazardous materials owned or possessed by American Textile at the Site.

        15.     Defendant Ardagh Glass, Inc. is a Delaware corporation with a principal place

 of business at 10194 Crosspoint Boulevard, Suite 410, Indianapolis, Indiana. Based upon

 information and belief, Ardagh Glass, Inc. is a successor-in-interest of Foster Forbes. Foster

 Forbes generated, owned, possessed, or by contract, agreement, or otherwise arranged for

 disposal or treatment, andlor arranged with a transporter for transpon for disposal or treatment

 of at least 23,520 cubic yards of waste containing hazardous substances, hazardous wastes,

 andlor hazardous materials owned or possessed by Foster Forbes at the Site.




                                                 6
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 7 of 41 PageID #: 7



         16.     Defendant Armbrust International, Ltd. is a Rhode Island corporation with a

 principal place of business at735 Allens Avenue, Providence, Rhode Island. Based upon

 information and belief, Armbrust International, Ltd. is a successor-in-interest of Sweet

 Manufacturing. Sweet Manufacturing generated, owned, possessed, or by contract,

 agreement, or otherwise arranged for disposal or treatment, and/or arranged with a transporter

 for transport for disposal or treatment of at least   1   ,1   92 cubic yards of waste containing

 hazardous substances, hazardous wastes, and/or hazardous materials owned or possessed by

 Sweet Manufacturing at the Site.

         17.     Defendant City of Attleboro is a Massachusetts municipality with a principal

 place of business at77 Park Street, Attleboro, Massachusetts 02703. City of Attleboro,

 generated, owned, possessed, or by contract, agreement, or otherwise arranged for disposal or

 treatment, and/or arranged with a transporter for transport for disposal or treatment of at least

 78,745 cubic yards of waste containing hazardous substances, hazardous wastes, andlor

 hazardous materials owned or possessed by City of Attleboro at the Site.

         18.     Defendant Bank of America is a North Carolina financial institution with a

 principal place of business at 100 North Tryon Street, Charlotte, North Carolina. Based upon

 information and belief, Bank of America is the successor-in-interest of Industrial National

 Bank, First National Bank, First Bristol County Bank, Attleboro Savings Bank, and National

 Bank of Wareham and potentially others. The predecessor entities collectively generated,

 owned, possessed, or by contract, agreement, or otherwise arranged for disposal or treatment,

 and/or arranged with a transporter for transport for disposal or treatment of at least 3,028

 cubic yards of waste containing hazardous substances, hazardous wastes, and/or hazardous

 materials owned or possessed by the predecessor entities at the Site



                                                  7
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 8 of 41 PageID #: 8



         19.     Defendant Berger & Company Recycling, Inc. is a Rhode Island corporation

 with a principal place of business at   126 Front Street. Based upon information and belief,

 Berger & Company Recycling, Inc. is a successor-in-interest of Berger Paper. Berger Paper

 generated, owned, possessed, or by contract, agreement, or otherwise arranged for disposal or

 treatment, and/or arranged with a transporter for transport for disposal or treatment of at least

 6,482 cubic yards of waste containing hazardous substances, hazardous wastes, and/or

 hazardous materials owned or possessed by Berger Paper at the Site.

         20.    Defendant Bucci's Auto, Inc. is a Rhode Island corporation with a principal

 place of business at 300 Mendon Road, Cumberland, Rhode Island. Based upon information

 and belief, Bucci's Auto, Inc. is a successor-in-interest of Bucci's Auto   Body. Bucci's Auto

 Body generated, owned, possessed, or by contract, agreement, or otherwise arranged for

 disposal or treatment, and/or arranged with a transporter for transport for disposal or treatment

 of at least 447 cubic yards containing hazardous substances, hazardous wastes, and/or

 hazardous materials owned or possessed by Bucci's Auto Body at the Site.

        21.     Defendant Burger King Corporation is a Florida corporation with a principal

 place of business at 5505 Blue Lagoon Drive, Miami, Florida. Burger King Corporation,

 and/or its affiliates or predecessors-in-interest, generated, owned, possessed, or by contract,

 agreement, or otherwise arranged for disposal or treatment, and/or arranged with a transporter

 for transport for disposal or treatment of at least 3 ,421 cubic yards of waste containing

 hazardous substances, hazardous wastes, and/or hazardous materials owned or possessed by

 Burger King Corporation at the Site

        22.     Defendant Carvel Corporation is a Delaware corporation with a principal place

 of business at200 Glenridge Point Parkway, Suite 200, Atlanta, Georgia. Based upon



                                                  8
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 9 of 41 PageID #: 9



 information and belief, Carvel Corporation is the successor-in-interest to Carvel Ice Cream.

 Carvel Ice Cream generated, owned, possessed, or by contract, agreement, or otherwise

 arranged for disposal or treatment, and/or arranged with a transporter for transport for disposal

 or treatment of at least 540 cubic yards of waste containing hazardous substances, hazardous

 wastes, and/or hazardous materials owned or possessed by Carvel Ice Cream at the Site.

            23.     Defendant John D. Noonan dlblaCawel Ice Cream is an individual with an

 address at P.O. Box. 98, Alton Bay, New Hampshire. John D. Noonan d/b/a Carvel lce

 Cream, generated, owned, possessed, or by contract, agreement, or otherwise arranged for

 disposal or treatment, andlor arranged with a transporter for transport for disposal or treatment

 of at least 540 cubic yards of waste containing hazardous substances, hazardous wastes,

 and/or hazardous materials owned or possessed by John D. Noonan dlblaCawel Ice Cream at

 the Site.

            24.     Defendant Central Falls Plate Glass Company is a Rhode Island corporation

 with   a   principal place of business at 481 Broad Street, Central Falls, Rhode Island. Based

 upon information and belief, Central Falls Plate Glass Company is a successor-in-interest        of

 Central Falls Glass. Central Falls Glass generated, owned, possessed, or by contract,

 agreement, or otherwise arranged for disposal or treatment, and/or arranged with a transporter

 for transport for disposal or treatment of at least 1,734 cubic yards of waste containing

 hazardous substances, hazardous wastes, andlor hazardous materials owned or possessed by

 Central Falls Glass at the Site.

            25.     Defendant Central Paper Co., Inc. is a Rhode Island corporation with a

 principal place of business at 1495 Newport Avenue, Pawtucket, Rhode Island. Central Paper

 Co., Inc., and/or its affiliates or predecessors-in-interest, generated, owned, possessed, or by



                                                    9
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 10 of 41 PageID #: 10



  contract, agreement, or otherwise affanged for disposal or treatment, and/or arranged with a

  transporter for transport for disposal or treatment of at least 1,238 cubic yards of waste

  containing hazardous substances, hazardous wastes, and/or hazardous materials owned or

  possessed by Central Paper Co., Inc. at the Site.


           26.    Defendant CHE, Inc. is a Rhode Island corporation with a principal place       of

  business at 5 Sakonnet Trail, Little Compton, Rhode Island. Based upon information and

  belief; CHE, Inc. is a successor-in-interest of Crellin Handling. Crellin Handling generated,

  owned, possessed, or by contract, agreement, or otherwise arranged for disposal or treatment,

  and/or arranged with a transporter for transport for disposal or treatment of at least 386 cubic

  yards of waste containinghazardous substances, hazardous wastes, and/or hazardous materials

  owned or possessed by Crellin Handling at the Site.

           27.    Defendant Chemart Company is a Rhode Island corporation with a principal

  place of business at 11 New England Way, Lincoln, Rhode Island. Based on information and

  belief, Chemart Company is the successor-in-interest to Chem-art. Chem-art generated,

  owned, possessed, or by contract, agreement, or otherwise arranged for disposal or treatment,

   andlor arranged with a transporter for transport for disposal or treatment of at least 676 cubic

  yards of waste containinghazardous substances, hazardous wastes, and/or hazardous materials

  owned or possessed by Chem-art at the Site

           28.    Defendant Conlon Moving and Storage Inc. is a Rhode Island corporation with

  a   principal place of business at 17 Chase Avenue, Warrén, Rhode Island. Based upon

  information and belief, Conlon Moving and Storage Inc. is a successor-in-interest of Conlon

  Moving. Conlon Moving generated, owned, possessed, or by contract, agreement, or

  otherwise arranged for disposal or treatment, and/or arranged with    a transporter   for transport



                                                  10
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 11 of 41 PageID #: 11



  for disposal or treatment of at least   3 12   cubic yards of waste containing hazardous substances,

  hazardous wastes, andlor hazardous materials owned or possessed by Conlon Moving at the

  Site

          29.     Defendant Consolidated Concrete is a Rhode Island corporation with a

  principal place of business at 835 Taunton Avenue, East Providence, Rhode Island.

  Consolidated Concrete, generated, owned, possessed, or by contract, agreement, or otherwise

  arranged for disposal or treatment, and/or arranged with a transporter for transport for disposal

  or treatment of at least 958 cubic yards of waste containing hazardous substances, hazardous

  wastes, andlor hazardous materials owned or possessed by Consolidated Concrete at the Site.

          30.     Defendant Cotes Market, Inc. is a Massachusetts corporation with a principal

  place of business at 175 Salem Street, Lowell, Massachusetts. Based upon information and

  belief, Cotes Market is a successor-in-interest of Cotes Meat Market. Cotes Meat Market

  generated, owned, possessed, or by contract, agreement, or otherwise arranged for disposal or

  treatment, andlor arranged with a transporter for transport for disposal or treatment of at least

   1,103 cubic yards of waste containing hazardous substances, hazardous wastes, andlor

  hazardous materials owned or possessed by Cotes Meat Market at the Site

          31.    Defendant Courier New Media, Inc. is a Massachusetts corporation with a

  principal place of business at 15 Wellman Avenue, North Chelmsford, Massachusetts. Based

  upon information and beliel Courier New Media is a successor-in-interest of Alpine Press

  Alpine Press generated, owned, possessed, or by contract, agreement, or otherwise arranged

  for disposal or treatment, and/or arranged with a transporter for transport for disposal or

  treatment of at least 672 cubic yards of waste containing hazardous substances, hazardous

  wastes, and/or hazardous materials owned or possessed by Alpine Press at the Site.



                                                       11
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 12 of 41 PageID #: 12



             32.     Defendant Crest Manufacturing Company is a Rhode Island corporation with a

  principal place of business at 5 Hood Drive, Lincoln, Rhode Island. Based on information and

  believe, Crest Manufacturing Company is the successor-in-interest to Crest     Mfg. Crest Mfg

  generated, owned, possessed, or by contract, agreement, or otherwise arranged for disposal or

  treatment, andlor arranged with a transporter for transport for disposal or treatment of at least

  2,088 cubic yards of waste containing hazardous substances, hazardous wastes, and/or

  hazardous materials owned or possessed by Crest Mfg at the Site.

             33.    Defendant Del's Limited Family Partnership is a Rhode Island corporation

  with   a   principal place of business at 1260 Oaklawn Avenue, Cranston, Rhode Island. Based

  upon information and belief, Del's Family Limited Partnership is a successor-in-interest    of

  Del's Lemonade. Del's Limited Family Partnership generated, owned, possessed, or by

  contract, agreement, or otherwise arranged for disposal or treatment, and/or arranged with a

  transporter for transport for disposal or treatment of at least 262 cubic yards of waste

  containing hazardous substances, hazardous wastes, and/or hazardous materials owned or

  possessed by Del's Limited Family Partnership at the Site.

             34.    Defendant Dial Battery Paint & Auto Supply, Inc. is a Rhode Island

  corporation with a principal place of business at 4I4 Taunton Avenue, East Providence,

  Rhode Island. Dial Battery Paint & Auto Supply, Inc., and/or its affiliates or predecessors-in-

  interest, generated, owned, possessed, or by contract, agreement, or otherwise arranged for

  disposal or treatment, and/or arranged with a transporter for transport for disposal or treatment

  of at least 320 cubic yards of waste containing hazardous substances, hazardous wastes,

  and/or hazardous materials owned or possessed by Dial Battery Paint & Auto Supply, Inc. at

  the Site



                                                  I2
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 13 of 41 PageID #: 13



          35.     Defendant Diamond Hill Animal Hospital d/b/a Gansett Animal Hospital is a

  Rhode Island corporation with a principal place of business at 167 Newport Avenue, East

  Providence, Rhode Island. Diamond Hill Animal Hospital d/b/a Gansett Animal Hospital,

  and/or its affiliates or predecessors-in-interest, generated, owned, possessed, or by contract,

  agreement, or otherwise arranged for disposal or treatment, and/or arranged with a transporter

  for transport for disposal or treatment of at least 420 cubic yards of waste containing

  hazardous substances, hazardous wastes, and/or hazardous materials owned or possessed by

  Diamond Hill Animal Hospital d/b/a Gansett Animal Hospital at the Site.

          36.     Defendant Don's Diner, Inc. is a Massachusetts corporation with a principal

  place of business at   I2l   South Street, Plainville, Massachusetts. Don's Diner, Inc., and/or its

  affiliates or predecessors-in-interest, generated, owned, possessed, or by contract, agreement,

  or otherwise arranged for disposal or treatment, andlor arranged with a transporter for

  transport for disposal or treatment of at least 7 ,444 cubic yards of waste containing hazardous

  substances, hazardous wastes, andlor hazardous materials owned or possessed by Don's

  Diner, Inc. at the Site.

          37.     Defendant Duffin's Pub is a Rhode Island corporation with a principal place         of

  business   at2l5 Division    Street, Pawtucket, Rhode Island. Dufhn's Pub, generated, owned,

  possessed, or by contract, agreement, or otherwise arranged for disposal or treatment, and/or

  arranged with a transporter for transport for disposal or treatment of at least 472 cubic yards     of

  waste containing hazardous substances, hazardous wastes, and/or hazardous materials owned

  or possessed by Duffin's Pub at the Site.

          38.     Defendant EEM, Inc. is a Rhode Island corporation with a principal place       of

  business at3313 Millwood Way, Saint Augustine, Florida. Based upon information and



                                                     13
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 14 of 41 PageID #: 14



  belief, EEM, Inc. is a successor-in-interest of Bradley Press. Bradley Press generated, owned,

  possessed, or by contract, agreement, or otherwise arranged for disposal or treatment, and/or

  arranged with a transporter for transport for disposal or treatment of at least 514 cubic yards   of

  waste containing hazardous substances, hazardous wastes, and/or hazardous materials owned

  or possessed by Bradley Press at the Site.

           39.     Defendant Friend & Family Veterinary Services, Inc. is a Rhode Island

  corporation with a principal place of business at 35 Pine Swamp Road, Cumberland, Rhode

  Island. Based upon information and belief, Friend & Family Veterinary Services, Inc. is a

  successor-in-interest of Diamond Hill Animal Clinic. Diamond Hill Animal Clinic generated,

  owned, possessed, or by contract, agreement, or otherwise arranged for disposal or treatment,

  andlor arranged with a transporter for transport for disposal or treatment of at least 2,095

  cubic yards of waste containinghazardous substances, hazardous wastes, and/or hazardous

  materials owned or possessed by Diamond Hill Animal Clinic at the Site.

           40.     Defendant Gulliver's Tavern, Incorporated is a Rhode Island corporation with

  a   principal place of business at 3 18 Chalkstone Avenue, Providence, Rhode Island. Based

  upon information and belief, Gulliver's Tavern, Incorporated is a successor-in-interest     of

  Gulliver's Restaurant. Gulliver's Restaurant generated, owned, possessed, or by contract,

  agreement, or otherwise arranged for disposal or treatment, and/or arranged with a transporter

  for transport for disposal or treatment of at least 4,136 cubic yards of waste containing

  hazardous substances, hazardous wastes, and/or hazardous materials owned or possessed by

  Gulliver's Restaurant at the Site.

           41.     Defendant Guyot Brothers Company,Incorporated is a Massachusetts

  corporation with a principal place of business at 20 John V/illiams Street, Attleboro,



                                                 l4
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 15 of 41 PageID #: 15



  Massachusetts. Guyot Brothers Company, Incorporated, generated, owned, possessed, or by

  contract, agreement, or otherwise arranged for disposal or treatment, andlor arranged with a

  transporter for transport for disposal or treatment of at least 492 c;'tbic yards of waste

  containing hazardous substances, hazardous wastes, and/or hazardous materials owned or

  possessed by Guyot Brothers Company, Incorporated at the Site.


             42.     Defendant Harmony Enterprises is a Rhode Island corporation with a principal

  place of business at 55 Melody Hill Lane, Harmony, Rhode Island. Based upon information

  and belief, Harmony Enterprises is a successor-in-interest of Melody             Hill Country Club.

  Melody Hill Country Club generated, owned, possessed, or by contract, agreement, or

  otherwise arranged for disposal or treatment, and/or arranged with           a transporter   for transport

  for disposal or treatment of at least204 cubic yards of waste containing hazardous substances,

  hazardous wastes, and/or hazardous materials owned or possessed by Melody                 Hill Country

  Club at the Site.

              43.    Defendant Hudson Services, Inc. is a Rhode Island corporation with a principal

  place of business at 101 Cranston Street, Providence, Rhode Island. Based upon information

  and belief, Hudson Services, Inc. is a successor-in-interest of both Hudson Cleansers and

  Hudson Services. Hudson Cleansers and Hudson Services collectively generated, owned,

  possessed, or by contract, agreement, or otherwise arranged for disposal or treatment, andlor

  arranged with a transporter for transport for disposal or treatment of at least 346 cubic yards          of

  waste containing hazardous substances, hazardous wastes, and/or hazardous materials owned

  or possessed by Hudson Cleansers and Hudson Services at the Site.

             44.     Defendant International House of Pancakes, LLC is a Delaware corporation

  with   a   principal place of business at   450   North Brand Boulevard,   7th   Floor, Glendale,



                                                         t5
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 16 of 41 PageID #: 16



  Califomia. International House of Pancakes, LLC, andlor its affiliates or predecessors-ln-

  interest, generated, owned, possessed, or by contract, agreement, or otherwise arranged for

  disposal or treatment, and/or arranged with a transporter for transport for disposal or treatment

  of at least 5,888 cubic yards of waste containing hazardous substances, hazardous wastes,

   andlor hazardous materials owned or possessed by International House of Pancakes, LLC at

  the Site.

             45.   Defendant J A R Bakers Supply, Inc. is a Rhode Island corporation with a

  principal place of business at 12 Crow Point Road, Lincoln, Rhode Island. Based on

  information and beliet J A R Bakers Supply, Inc. is the successor-in-interest to JAR Bakers

  Supply. JAR Bakers Supply      generated, ovøned, possessed, or by contract, agreement, or

  otherwise arranged for disposal or treatment, and/or arranged with   a transporter   for transport

  for disposal or treatment of at least 798 cubic yards of waste containing hazardous substances,

  hazardous wastes, and/or hazardous materials owned or possessed by JAR Bakers Supply at

  the Site

             46.   Defendant John Hancock Financial Corporation is a Delaware corporation with

  a   principal place of business at 601 Congress Street, Boston, Massachusetts. Based on

  information and belief, John Hancock Financial Corporation is a successor-in-interest      of John

  Hancock Insurance. John Hancock Insurance generated, owned, possessed, or by contract,

  agreement, or otherwise arranged for disposal or treatment, and/or arranged with a transporter

  for transport for disposal or treatment of at least 1,656 cubic yards containing hazardous

  substances, hazardous wastes, and/or hazardous materials owned or possessed by John

  Hancock Insurance at the Site.




                                                 I6
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 17 of 41 PageID #: 17



         47.       Defendant KFC Corporation is a Delaware corporation with a principal place

  of business at   l44l Gardiner   Lane, Louisville, Kentucky. Based upon information and belief,

  KFC Corporation is a successor-in-interest of Kentucky Fried Chicken. Kentucky Fried

  Chicken generated, owned, possessed, or by contract, agreement, or otherwise arranged for

  disposal or treatment, and/or arranged with a transporter for transport for disposal or treatment

  of at least 1,276 cubic yards of waste containing hazardous substances, hazardous wastes,

  and/or hazardous materials owned or possessed by Kentucky Fried Chicken at the Site.

         48.       Defendant King Richards Auto Center is a Rhode Island corporation with a

  principal place of business at 801 Taunton Avenue, East Providence, Rhode Island 02914.

  Based upon information and belief, King Richards Auto Center is a successor-in-interest      of

  King Richard Auto Sales. King Richard Auto Sales, generated, owned, possessed, or by

  contract, agreement, or otherwise arranged for disposal or treatment, and/or arranged with a

  transporter for transport for disposal or treatment of at least 112 cubic yards of waste

  containing hazardous substances, hazardous wastes, andlor hazardous materials owned or

  possessed by   King Richard Auto Sales at the Site.

          49.       Defendant Major Electric   & Supply, Inc. is a Rhode Island corporation with    a


  principal place of business at 6 Faunce Drive, Providence, Rhode Island. Based on

  information and beliet Major Electric & Supply, Inc. is the successor-in-interest to Major

  Elec. Major Elec generated, owned, possessed, or by contract, agreement, or otherwise

  arranged for disposal or treatment, andlor arranged   with a transporter for transport for disposal

  or treatment of at least 4,128 cubic yards of waste containing hazardous substances, hazardous

  wastes, and/or hazardous materials owned or possessed by Major Elec at the Site.




                                                   t7
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 18 of 41 PageID #: 18



          50.     Defendant Maritime International, Inc. is a Rhode Island corporation with a

  principal place of business at276 MacArthur Drive, New Bedford, Massachusetts. Based

  upon information and belief, Maritime International, Inc. is a successor-in-interest   of

  Merchants Cold Storage. Merchants Cold Storage generated, owned, possessed, or by

  contract, agreement, or otherwise arranged for disposal or treatment, and/or arranged with a

  transporter for transport for disposal or treatment of at least 1,996 cubic yards of waste

  containing hazardous substances, hazardous wastes, andlor hazardous materials owned or

  possessed by Merchants Cold Storage at the Site

          51.     Defendant McDonald's Corporation is a Delaware corporation with a principal

  place of business at One McDonald'sPlaza, Oak Brook, Illinois. McDonald's Corporation,

   andlor its affiliates or predecessors-in-interest, generated, owned, possessed, or by contract,

  agreement, or otherwise arranged for disposal or treatment, and/or arranged with a transporter

  for transport for disposal or treatment of at least 8,478 cubic yards of waste containing

  hazardous substances, hazardous wastes, and/or hazardous materials owned or possessed by

  McDonald's Corporation at the Site.

          52.     Defendant McKee Bros. Oil Corp. is a Rhode Island corporation with a

  principal place of business at 8 Davis Street, Cumberland, Rhode Island. McKee Bros. Oil

  Cotp., andlor its afhliates or predecessors-in-interest, generated, oumed, possessed, or by

  contract, agreement, or otherwise arranged for disposal or treatment, and/or arranged with a

  transporter for transport for disposal or treatment of at least 288 cubic yards of waste

  containing hazardous substances, hazardous wastes, and/or hazardous materials owned or

  possessed by McKee Bros.     Oil Co.p. at the Site.




                                                   18
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 19 of 41 PageID #: 19



          53.    Defendant Mel-Co-Ed, Inc. is a Rhode Island corporation with a principal

  place of business at 381 Roosevelt Avenue, Pawtucket, Rhode Island. Mel-Co-Ed,Inc.,

  generated, owned, possessed, or by contract, agreement, or otherwise arranged for disposal or

  treatment, and/or arranged with a transporter for transport for disposal or treatment of at least

  210 cubic yards of waste containing hazardous substances, hazardous wastes, and/or

  hazardous materials owned or possessed by Mel-Co-Ed, Inc. at the Site.

          54.    Defendant Metacomet Country Club is a Rhode Island corporation with a

  principal place of business at 500 Veterans Memorial Parkway, E. Providence, Rhode Island.

  Metacomet Country Club, and/or its affiliates or predecessors-in-interest, generated, owned,

  possessed, or by contract, agreement, or otherwise arranged for disposal or treatment, and/or

  arranged with a transporter for transport for disposal or treatment of at least 3,622 cubic yards

  of waste containing hazardous substances, hazardous wastes, andlor hazardous materials

  owned or possessed by Metacomet Country Club at the Site

         55.     Defendant Michelletti's Restaurant is a Massachusetts corporation with a

  principal place of business at 1053 Newman Avenue, Seekonk, Massachusetts. Based on

  information and belief, Michelletti's Restaurant is the successor-in-interest to Michelletti's.

  Michelletti's generated, owned, possessed, or by contract, agreement, or otherwise arranged

  for disposal or treatment, and/or arranged with a transporter for transport for disposal or

  treatment of at least 670 cubic yards of waste containing hazardous substances, hazardous

  wastes, and/or hazardous materials owned or possessed by Michelletti's at the Site.

          56.    Defendant Mine Safety Appliances Company,LLC is a Pennsylvania

  corporation with a principal place of business at 1000 Cranberry Woods Drive, Cranberry

  Township, Pennsylvania. Mine Safety Appliances Company, LLC, andlor its affiliates or



                                                  t9
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 20 of 41 PageID #: 20




  predecessors-in-interest, generated, owned, possessed, or by contract, agreement, or otherwise

  arranged for disposal or treatment, and/or arranged with a transporter for transport for disposal

  or treatment of at least 770 cubic yards of waste containing hazardous substances, hazardous

  wastes, andlor hazardous materials owned or possessed by Mine Safety Appliances Company,

  LLC at the Site.

          57.    Defendant New England Motor Freight, Inc. is a New Jersey corporation with a

  principal place of business at   l-7I North   Avenue East, Elizabeth, New Jersey. New England

  Motor Freight, Inc., and/or its affiliates or predecessors-in-interest, generated, owned,

  possessed, or by contract, agreement, or otherwise arranged for disposal or treatment, andlor

  arranged with a transporter for transport for disposal or treatment of at least 682 cubic yards   of

  waste containing hazardous substances, hazardous wastes, and/or hazardous materials owned

  or possessed by New England Motor Freight, Inc. at the Site.

         58.     Defendant Northeast Golf Properties, Inc. d/b/a Norton Country Club is a

  Massachusetts corporation with a principal place of business at 188 Oak Street, Norton,

  Massachusetts. Based upon information and        beliet Northeast Golf Properties, Inc. d/b/a

  Norton Country Club is a successor-in-interest of Norton Golf Course, Inc. d/b/a Norton

  Country Club. Norton Golf Course,Inc. d/b/aNorton Country Club, generated, owned,

  possessed, or by contract, agreement, or otherwise arranged for disposal or treatment, and/or

  arranged with a transporter for transport for disposal or treatment of at least 274 cubic yards   of

  waste containing hazardous substances, hazardous wastes, andlor hazardous materials owned

  or possessed by Norton Golf Course, Inc. d/b/a Norton Country Club at the Site.

          59.    Defendant Northpoint Bible College is a Massachusetts corporation with a

  principal place of business at320 South Main Street, Haverhill, Massachusetts. Based upon



                                                    20
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 21 of 41 PageID #: 21




  information and belief, Northpoint Bible College is a successor-in-interest of Zion Bible

  College. Zion Bible College generated, owned, possessed, or by contract, agreement, or

  otherwise arranged for disposal or treatment, and/or arranged with        a transporter   for transport

  for disposal or treatment of at least2,162 cubic yards of waste containing hazardous

  substances, hazardous wastes, andlor hazardous materials owned or possessedby Zion Bible

  College at the Site.

            60.      Defendant Plainville Machine Works, Inc. is a Massachusetts corporation with

  a   principal place of business at 20 High Street, Plainville, Massachusetts. Plainville Machine

  'Works,
              Inc., generated, owned, possessed, or by contract, agreement, or otherwise arranged

  for disposal or treatment, and/or arranged with    a transporter   for transport for disposal or

  treatment of at least 1,658 cubic yards of waste containing hazardous substances, hazardous

  wastes, and/or hazardous materials owned or possessed by Plainville Machine Works, Inc. at

  the Site.

            6I.      Defendant Rama Shopping Center, Inc. is a Massachusetts corporation with a

  principal place of business at 884 Washington Street, Norwood, Massachusetts. Based upon

  information and belief, Rama Shopping Center, Inc. is a successor-in-interest of Rama Plaza.

  Rama PIaza generated, owned, possessed, or by contract, agreement, or otherwise arranged

  for disposal or treatment, and/or arranged with a transporter for transport for disposal or

  treatment of at least 470 cubic yards of waste containing hazardous substances, hazardous

  wastes, and/or hazardous materials owned or possessed by Rama Plaza at the Site

            62.      Defendant Read's Dairy,Inc. is a Massachusetts corporation with a principal

  place of business at 186 Cole Street, Seekonk, Massachusetts. Read's Dairy, Inc., generated,

  owned, possessed, or by contract, agreement, or otherwise arranged for disposal or treatment,



                                                    2l
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 22 of 41 PageID #: 22




  and/or arranged with a transporter for transport for disposal or treatment of at least 364 cubic

  yards of waste containing hazardous substances, hazardous wastes, and/or hazardous materials

  owned or possessed by Read's Dairy, Inc. at the Site.

           63.     Defendant Rhode Island Glass Company, Inc. is a Rhode Island corporatron

  with a principal place of business at375 Washington Street, Providence, Rhode Island.

  Rhode Island Glass Company, Inc., and/or its affiliates or predecessors-in-interest, generated,

  owned, possessed, or by contract, agreement, or otherwise arranged for disposal or treatment,

  and/or arranged with a transporter for transport for disposal or treatment of at least 347 cubic

  yards of waste containinghazardous substances, hazardous wastes, and/or hazardous materials

  owned or possessed by Rhode Island Glass Company, Inc. at the Site

           64.     Defendant Rhode Island Textile Company is a Rhode Island corporation with a

  principal place of business at 35 Martin Street, Cumberland, Rhode Island. Based on

  information and belief, Rhode Island Textile Company is the successor-in-interest to Rhode

  Island Textile. Rhode Island Textile generated, owned, possessed, or by contract, agreement,

  or otherwise arranged for disposal or treatment, and/or arranged with a transporter for

  transport for disposal or treatment of at least 6,790 cubic yards of waste containing hazardous

  substances, hazardous wastes, andlor hazardous materials owned or possessed by Rhode

  Island Textile at the Site

           65.     Defendant Rome Restaurant, Inc. is a Massachusetts corporation with a

  principal place of business at 4 East Central Street, Franklin, Massachusetts. Rome

  Restaurant, Inc., andlor its affiliates or predecessors-in-interest, generated, owned, possessed,

  or by contract, agreement, or otherwise arranged for disposal or treatment, and/or arranged

  with   a transporter   for transport for disposal or treatment of at least 1,028 cubic yards of waste



                                                      22
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 23 of 41 PageID #: 23




  containing hazardous substances, hazardous wastes, and/or hazardous materials owned or

  possessed by Rome Restaurant, Inc. at the Site.


             66.     Defendant Rubber Covered Products Co., Inc. is a Rhode Island corporation

  with   a   principal place of business at964 Douglas Pike, Smithfield, Rhode Island. Rubber

  Covered Products Co., Inc., andlor its affiliates or predecessors-in-interest, generated, owned,

  possessed, or by contract, agreement, or otherwise arranged for disposal or treatment, and/or

  arranged with a transporter for transport for disposal or treatment of at least 690 cubic yards   of

  waste containing hazardous substances, hazardous wastes, and/or hazardous materials owned

  or possessed by Rubber Covered Products Co., Inc. at the Site

             67.    Defendant Ryder Truck Rental, Inc. is a Florida corporation with a principal

  place of business at 11690 North West 105 Street, Miami, Florida. Ryder Truck Rental, Inc.,

  and/or its affrliates or predecessors-in-interest, generated, owned, possessed, or by contract,

  agreement, or otherwise arranged for disposal or treatment, and/or arranged with a transporter

  for transport for disposal or treatment of at least 536 cubic yards of waste containing

  hazardous substances, hazardous wastes, and/or hazardous materials owned or possessed by

  Ryder Truck Rental, Inc. at the Site

             68.    Defendant Ryone Manufacturing Co. is a Rhode Island corporation with a

  principal place of business at 1l Thelma Street, North Providence, Rhode Island. Ryone

  Manufacturing Co., generated, owned, possessed, or by contract, agreement, or otherwise

  arranged for disposal or treatment, and/or arranged with a transporter for transport for disposal

  or treatment of at least 162 cubic yards of waste containinghazardous substances, hazardous

  wastes, and/or hazardous materials owned or possessed by Ryone Manufacturing Co. at the

  Site



                                                   ZJ
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 24 of 41 PageID #: 24




          69.    Defendant Savor Street Foods, Inc. is a Pennsylvania corporation with a

  principal place of business at One ParkPlaza. Wyomissing, Pennsylvania. Based upon

  information and belief, Savor Street Foods, Inc. is a successor-in-interest of Bachman Foods.

  Bachman Foods generated, owned, possessed, or by contract, agreement, or otherwrse

  arranged for disposal or treatment, and/or arranged with a transporter for transport for disposal

  or treatment of at least 7,156 cubic yards of waste containing hazardous substances, hazardous

  wastes, andlor hazardous materials owned or possessed by Bachman Foods at the Site.

         70.     Defendant SCI Rhode Island Funeral Services, LLC is a Rhode Island

  corporation with a principal place of business at 1929 Allen Parkway, Houston, Texas. Based

  upon information and beliet SCI Rhode Island Funeral Services, LLC is a successor-rn-

  interest of Corbett & Quirk. Corbett & Quirk generated, owned, possessed, or by contract,

  agreement, or otherwise arranged for disposal or treatment, andlor arranged with a transporter

  for transport for disposal or treatment of at least 444 cubic yards of waste containing

  hazardous substances, hazardous wastes, and/or hazardous materials owned or possessed by

  Corbett & Quirk at the Site.

          71.    Defendant Standish-Johnson Co. ("Standish-Johnson") was incorporated in

  Rhode Island on July 9,1973. On November 6, 2014, the Rhode Island Secretary of State

  revoked its charter and, as of the date of filing of this Complaint, the charter of Standish-

  Johnson had not been reinstated. Greatrex Corporation ("Greatrex") was incorporated       in

  Rhode Island on January 2I,1976, and, as of the date of the filing of this Complaint, Greatrex

  was in good standing with the Rhode Island Secretary of State. Each of these companies has

  its principal place of business in Rhode Island. Historically, Standish-Johnson and Greatrex

  have been affiliated companies, having owners, directors, and officers in common. Currently,



                                                  24
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 25 of 41 PageID #: 25




  on information and belief, Victoria Brown and Pamela Diehl are owners, directors, and

  offrcers of both companies. Beginning in the early 1970s, Standish-Johnson, generated,

  owned, possessed, or by contract, agreement, or otherwise arranged for disposal or treatment,

  and/or arranged with a transporter for transport for disposal or treatment of at least 1,644

  cubic yards of waste containing hazardous substances, hazardous wastes, and/or hazardous

  materials owned or possessed by Standish-Johnson at the Site. On information and belief,

  Standish-Johnson has retained responsibility for any liability resulting from disposal of its

  waste containing hazardous substances, hazardous wastes, and/or hazardous materials at the

  Site. Alternatively, if because of the revocation of its charter or for any other reason, Standish-

  Johnson no longer retains such responsibility, then Greatrex is the successor in interest to

  Standish-Johnson with regard to such liability.

         72.     Prior to March 30, 1981, Gary F. Knight d/b/a State Line Motor Inn

  ("Knight"), conducted the business of a motel named the State Line Motor Inn at 1116

  Washington Street, South Attleboro, Massachusetts. Beginning in the mid-1970s Knight

  generated, owned, possessed, or by contract, agreement, or otherwise arranged for disposal or

  treatment, andlor arranged with a transporter for transport for disposal or treatment of at least

  568 cubic yards of waste containing hazardous substances, hazardous wastes, andlor

  hazardous materials owned or possessed by Knight at the Site, continuing through March 30,

  1981, when he conveyed the State Line Motor Inn property.

         73.     Defendant Supply New England, Inc. is a Massachusetts corporation with a

  principal place of business at 123 East Street, Attleboro, Massachusetts. Based upon

  information and belief, Supply New England, Inc. is a successor-in-interest of Dalton

  Ingersoll, Reardon & Lynch, United Supply, and Thornley Supply Company. Dalton



                                                  25
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 26 of 41 PageID #: 26




  Ingersoll, Reardon & Lynch, United Supply, and Thornley Supply Company generated,

  owned, possessed, or by contract, agreement, or otherwise arranged for disposal or treatment,

   andlor arranged with a transporter for transport for disposal or treatment of at least 2,602

  cubic yards of waste containing hazardous substances, hazardous wastes, and/or hazardous

  materials owned or possessed by them at the Site.

          74.     Defendant Taggart Sand Products Corp. is a Rhode Island corporation with a

  principal place of business at 520 Moshassuck Valley Industrial Highway, Lincoln, Rhode

  Island. Taggart Sand Products Corp. generated, owned, possessed, or by contract, agreement,

  or otherwise arranged for disposal or treatment, and/or arranged with a transporter for

  transport for disposal or treatment of at least 984 cubic yards of waste containing hazardous

  substances, hazardous wastes, andlor hazardous materials owned or possessed by Taggart

  Sand Products Corp. at the Site

          75.     Defendant Tercat Tool and Die Co. II, Inc. is a Rhode Island corporation with a

  principal place of business at 31 Delaine Street, Providence, Rhode Island. Based upon

  information and belief, Tercat Tool and Die Co. II, Inc. is a successor-in-interest of Tercat

  Tool & Dye. Tercat Tool and Dye generated, owned, possessed, or by contract, agreement, or

  otherwise arranged for disposal or treatment, and/or arranged with    a transporter   for transport

  for disposal or treatment of at Ieast 392 cubic yards of waste containing hazardous substances,

  hazardous wastes, andlor hazardous materials owned or possessed by Tercat Tool and Dye at

  the Site.

          76.     Defendant Tony    &   Sons Auto Service is a Rhode Island corporation with a

  principal place of business at 551 Central Avenue, Pawtucket, Rhode Island. Tony & Sons

  Auto Service, and/or its affrliates or predecessors-in-interest, generated, owned, possessed, or



                                                   26
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 27 of 41 PageID #: 27




  by contract, agreement, or otherwise arranged for disposal or treatment, and/or arranged with

  a transporter   for transport for disposal or treatment of at least 108 cubic yards of waste

  containing hazardous substances, hazardous wastes, and/or hazardous materials owned or

  possessed by Tony     &   Sons Auto Service at the Site.

          77.       Defendant V.J. Berarducci   &   Sons, Inc. is a Rhode Island corporation   with   a


  principal place of business at 185 Spring Street, Woonsocket, Rhode Island. Based on

  information and belief, V.J. Berarducci & Sons, Inc. is the successor-in-interest to Berarducci

  and Sons,   Inc. Berarducci   and Sons, Inc. generated, owned, possessed, or by contract,

  agreement, or otherwise arranged for disposal or treatment, and/or arranged with a transporter

  for transport for disposal or treatment of at least 1 04 cubic yards of waste containing

  hazardous substances, hazardous wastes, and/or hazardous materials owned or possessed by

  Berarducci and Sons, Inc. at the Site.

          78.      Defendant Town of West Bridgewater is a Massachusetts municipality with a

  principal place of business at 65 N. Main Street, Vy'est Bridgewater, Massachusetts. Town of

  V/est Bridgewater, generated, owned, possessed, or by contract, agreement, or otherwise

  arranged for disposal or treatment, andlor arranged with a transporter for transport for disposal

  or treatment of at least 5,463 cubic yards of waste containing hazardous substances, hazardous

  wastes, and/or hazardous materials owned or possessed by Town of West Bridgewater at the

  Site.

          79.      Defendant Westfall Manufacturing Co. is a Rhode Island corporation with a

  principal place of business at 15 Broadcommon Road, Bristol, Rhode Island. Based upon

  information and belief, Westfall Manufacturing Co. is a successor-in-interest of Westfall

  Chaffee. Westfall Chaffee generated, owned, possessed, or by contract, agreement, or



                                                     27
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 28 of 41 PageID #: 28



   otherwise arranged for disposal or treatment, andlor arranged with    a transporter   for transport

   for disposal or treatment of at least 708 cubic yards of waste containing hazardous substances

   owned or possessed by V/estfall Chaffee at the Site

          80.     Defendant lWhittaker Corporation is a Delaware corporation with a principal

  place of business at 1955 N. Surveyor Avenue, Simi Valley, California. Based upon

  information and belief, Whittaker Corporation is a successor-in-interest of Chemical Products.

  Chemical Products, generated, owned, possessed, or by contract, agreement, or otherwise

  arranged for disposal or treatment, and/or arranged    with a transporter for transport for disposal

  or treatment of at least 2,442 cubic yards of waste containing hazardous substances, hazardous

  wastes, and/or hazardous materials owned or possessed by Chemical Products at the Site.

          81.     Defendant Worthington Industries, Inc. is an Ohio corporation with a principal

  place of business af 200 Old Wilson Bridge Road, Columbus, Ohio. Based upon information

  and belief, Worthington Industries, Inc. is a successor-in-interest of Newman Crosby Steel.

  Newman Crosby Steel generated, owned, possessed, or by contract, agreement, or otherwise

  arranged for disposal or treatmenf, andlor arranged with a transporter for transport for disposal

  or treatment of at least 1,206 cubic yards of waste containing hazardous substances, hazardous

  wastes, andlor hazardous materials owned or possessed by Newman Crosby Steel at the Site.

          82.     Defendant YRC, Inc. is a Delaware corporation with a principal place ot

  business at 10990 Roe Avenue, Overland Park, Kansas. Based upon information and belief,

  YRC, Inc. is a successor-in-interest of Yellow Transport and Red Star Express. Yellow

  Transport and Red Star Express generated, owned, possessed, or by contract, agreement, or

  otherwise arranged for disposal or treatment, and/or arranged with     a transporter   for transport

  for disposal or treatment of at least 1,043 cubic yards of waste containing hazardous



                                                 28
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 29 of 41 PageID #: 29




  substances, hazardous wastes, and/or hazardous materials owned or possessed by them at the

  Site

                                                 FACTS

         83.     The Site is located on Martin Street and Mendon Road in Cumberland, Rhode

  Island and Lincoln, Rhode Island and is the subject of an environmental cleanup effort being

  performed by Plaintiff and overseen by the United States Environmental Protection Agency

  ("EPA") and the Rhode Island Department of Environmental Management ("R[DEM")

         84.     The Site encompasses approximately 500 acres, is located in a mixed

  industrial/commercial and residential/recreational community along the Blackstone River,

  which also includes   a   portion of the Blackstone River Valley National Historical Park

  between the Ashton Dam to the north and the Pratt Dam to the south in the towns      of

  Cumberland and Lincoln, Rhode Island. The Site also includes the 26-acre Lincoln Quinnville

  Wellfield and the Cumberland Lenox Street municipal water supply.

         85.     The Site is over l-mile-long (5,600 feet) and varies in width from

  approximately 1,200 feet to 1,900 feet

         86.     The Site consists of several parcels of land, including the J.M. Mills Landf,rll,

  the former Nunes Transfer Station operation, and an island between these two areas located in

  the Blackstone River known as the "LJnnamed Island." The Site as a whole is depicted an the

  map attached as Exhibit B, and a map of areas located within the Site is attached as Exhibit C.

         87.     The Blackstone River, which is a tributary of the Seekonk River, abuts the Site.

         88.     The J.M. Mills Landfill portion of the Site was an active, 52-acre landfill that

  operated from approximately 1954 to 1983




                                                   29
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 30 of 41 PageID #: 30




          89.       Hundreds of contaminants have been detected at the Site, including but not

  limited to the following: waste oil; used oil; thinners; alkaline solutions; degreasing solvents;

  volatile organic compounds ("VOCs") such        as benzene, chlorinated benzenes, 1,4-


  chloromethane, and 1,4-dioxane; semi-volatile organic compounds ("SVOCs") including

  naphthalene, dimethylphthalate, and acetophenone; and heavy metals including arsenic,

  barium, cadmium, lead, and mercury.

          90.       The above substances are all "hazardous substances" within the meaning      of

  Section 101(14) of CERCLA(42 U.S.C. $ 9601(14)) and/or "hazardous wastes," "hazardous

  materials," or o'hazardous substances" within the meaning of R.I. Gen. L. ç 23-19.14-3(c), (d),

  (e) (2014), and the Rhode Island Rules and Regulations for Hazardous V/aste Management,

  2s0-zucR-140-10-1

          91.       Hazardous substances, hazardous wastes, and/or hazardous materials of the

  same   kind   as that owned, generated, possessed, arranged   for disposal and/or transported by

  Defendants are present at the Site.

          92.       Waste disposal documentation and other information conhrm that hazardous

  substances, hazardous wastes, andlor hazardous materials owned, generated, possessed,

  arranged for disposal and/or transported by Defendants were disposed at the Site.

          93.       As a result of the release or threatened release of hazardous substances,

  hazardous wastes, and/or hazardous materials, EPA and RIDEM took response actions at or            in

  connection with the Site.

          94.       Certain members of the Group incurred past response costs, prior to entry   of

  the Consent Decree, of at least $6 million to perform a Remedial Investigation / Feasibility

  Study ("RI/FS") at the Site under EPA and RIDEM oversight, pursuant to a May 29,1987



                                                   30
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 31 of 41 PageID #: 31



  Administrative Order on Consent (as amended, "AOC"), andlor to investigate and identifu

  other potentially responsible parties (PRP's) who contributed hazardous substances to the

  Site.

          95.       Following conclusion of the RI/FS, EPA issued its Record of Decision

  ("ROD") for Operable Unit No. 2 ("OU2) of the Site on September 8,2015, describing its

  proposed remedy for the Site. The OU2 ROD was projected to cost at least $40,300,000.

          96.       In January 2017, EPA issued special notice letters to members of the Group

  and others under CERCLA $ 122(e) (42 U.S.C. $ 9622(e)), demanding that they perform the

  ROD and demanding reimbursement of past costs incurred by EPA and RIDEM at the Site,

  among other demands.

          97.       Plaintiff   s members,   without admitting any Site liability, along with other

  entities, entered into the Remedial DesigrVRemedial Action (RD/RA) Consent Decree

  Peterson/Puritan, Inc. Superfund Site ("Consent Decree"), under the terms of which they

  agreed for purposes of settlement to (i) reimburse the United States of America and the State

  of Rhode Island for certain past and future governmental 'oresponse" costs and "oversight"

  costs, and to   (ii) perform all further cleanup "'Work"    (as defined in the Consent Decree) at the


  Site at extensive cost.

          98.       On May 3,2017, this Court entered the Consent Decree.

          99.       Plaintiff (i) has resolved response cost claims with EPA and RIDEM through

  the Consent Decree, (ii) has reimbursed certain governmental costs in accordance with the

  Consent Decree, (iii) has incurred response costs in performing under the Consent Decree and

  (iv) has begun incurring the estimated $40.3 million in response costs in performing the ROD

  pursuant to the Consent Decree over the course ofdecades.



                                                       3t
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 32 of 41 PageID #: 32




           100.      The Group and its members have individually and collectively paid and/or                will

  ultimately pay in excess of their respective equitable share of Site response costs.

           101.      To the best of Plaintiff s knowledge, Defendants have incurred no response

  costs in relation to the Site.

           102.      Plaintiff extended a settlement opportunity to each Defendant prior to initiating

  this action; each Defendant rejected or failed to respond to the respective settlement offer.

                         COUNT I     -   COST RECOVERY UNDER CERCLA

           103.      This claim is for cost recovery under Section 107(a) of CERCLA (42 U.S.C.

  $ 9607(a) for past response costs of at least $6    million incurred by certain of PlaintifPs

  members prior to entry of the Consent Decree for the investigation and remediation of the Site

  pursuant to or in connection with the AOC (including performing the RI/FS), and/or

  investigating and identiffing other PRP's who contributed hazardous substances to the Site

  (including Keytronic costs).

           104.      Plaintiff repeats and realleges the allegations contained in each Paragraph above

  and incorporates them in this claim by reference as     if fully   set out herein.

           1   05.   The Site is a "facility" within the meaning of Section       1   0   1   (9) of CERCL A (42

  u.s.c.   $ e601(e))

           106.      There have been releases, within the meaning of Section l0I(22) of CERCLA

  (42 U.S.C. ç 9601(22)), and threatened releases, of hazardous substances at or from the Site

           107.      Plaintiff s members have incurred and will continue to incur substantial costs

  of response, withinthe meaning of Section 101(25) of CERCLA(42 U.S.C. $ 9601(25)), to

  respond to the releases or threatened releases ofhazardous substances at the Site

           108.      The response actions taken and the response costs incurred by Plaintiff s



                                                     32
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 33 of 41 PageID #: 33




  members at and in connection with the Site are consistent with the National Oil and

  Hazardous Substances Pollution Contingency Plan ("NCP"),40 C.F.R. Part 300.

                                                o'person"
             109.         Each Defendant is a               within the meaning of Section 101(21) of

  CERCLA (42 U.S.C. $ e601(21).

             110.         Each Defendant is liable, pursuant to Section 107(a)(3) (42 U.S.C.


  $ 9607(a)(3)), as a person who, by contract, agreement or otherwise, arranged for disposal or

  treatment, or arranged with a transporter for transport for disposal or treatment of, hazardous

  substances owned or possessed by each Defendant, and/or itself transported hazardous

  substances, to the Site, or is a successor to a person or entity that made such arrangement or

  arrangements or performed such transportation.

             I   1   1.   The waste materials owned, possessed or generated by the Defendants were not

  collected and disposed of with other municipal waste as part of normal municipal solid waste

  collection services, but rather were transported to and disposed of at the Site by commercial

  waste transporters which, on information and belief, were paid directly by the Defendants for

  their waste disposal services.

            ll2.          Pursuant to Section 107(a) of CERCLA(42 U.S.C. $ 9607(a)), each Defendant

  is   jointly and severally liable to Plaintiff for response costs incurred by the Group and/or its

  members in performing the zu/FS at the Site pursuant to the AOC and investigating and

  identifuing other PRPs who contributed hazardous substances to the Site, and therefore

  Plaintiff is entitled to a judgment from each Defendant of at least $6 million in response costs

  incurred by Group members, plus interest.

                               COUNT II _ CONTRIBUTION UNDER CERCLA

            113.          This claim is for contribution for amounts incurred and to be incurred by Plaintiff



                                                            35
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 34 of 41 PageID #: 34



  for the investigation and remediation of the Site pursuant to the AOC and Consent Decree and

  arises under CERCLA $ 113(Ð(1) (42 U.S.C. $ 9613(Ð(1)), CERCLA $ 113(Ð(3)(B) (42 U.S.C


   $ 9613(Ð(3XB), and CERCLA g 107(a) (42 U.S.C. g 9607(a).

          ll4.      Plaintiff repeats and realleges the allegations contained in each Paragraph above

  and incorporates them in this claim by reference as     if fully   set out herein.

          115.      Pursuant to the Consent Decree, Plaintiff s members have resolved Site liability

  they may have to the United States and the State of Rhode Island regarding remedial work and

  response costs for OU2 and have established their right to seek contribution from third parties,

  including from Defendants.

          116.      Each Defendant is a person or successor to a person who generated, contracted,

  agreed, or otherwise arranged for disposal or treatment, or themselves transported or arranged

  for the disposal or treatment of hazardous substances at or to the Site, and each has no defense

  against liability pursuant to $ 107(b), 42 U.S.C. $ 9607(b).

          ll7.      Plaintifls members have incurred, and will continue to incur, costs for

  investigation and remediation of the Site pursuant to the AOC and Consent Decree in excess      of

  each member's respective equitable shares and therefore are entitled to contribution from each

  Defendant for its equitable share of such costs.

  COUNT       III _ LIABILITY     UNDER THE       ISLAND INDUSTRIAL PROPERTY
                                 REMEDIATION AND REUSE ACT

          I   18. This claim is for cost recovery and contribution pursuant to the Industrial
  Property Remediation and Reuse Act, R.I. Gen. L. g$ 23-19.14-I (2014) et seq.

          119.      Plaintiff repeats and realleges the allegations contained in each Paragraph above

  and incorporates them in this claim by reference as if    fully    set out herein.




                                                     34
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 35 of 41 PageID #: 35



          ï20.    Pursuant to the Consent Decree,   Plaintiff s members have resolved Site liability

  they may have to the United States and the State of Rhode Island regarding remedial work and

  response costs and have established their right to seek cost recovery and contribution from third

  parties, including from Defendants.

          l2l.   There was an actual or threatened release of hazardous materials, hazardous

  substances, andlor hazardous wastes, within the meaning of R.I. Gen.      L. $$ 23-19.14-3(c), (d),

  (e) at or from the Site within the meaning of R.I. Gen.   L. 523-19.14-3(iX1).

          I22.   Each Defendant is a responsible party because each is a person or successor to a

  person under R.I. Gen. L. $ 23-19.14-3(h) who generated, owned, possessed, or by contract,

  agreement, or otherwise arranged for disposal or treatment, or arranged with a transporter for

  transport for disposal or treatment of hazardous materials owned or possessed by that person, at

  the Site under R.I. Gen. L. $ 23-19.A-6(a)(3).

          123.   Each Defendant is therefore subject to strict,   joint and several liability under R.I.

  Gen. L. ç 23-19.14-6.

          124.   As a responsible party under R.I. Gen. L.23-19.14-6(b), each Defendant is also

  therefore subject to liability for any and all other necessary costs of removal or remedial action

  incurred by Plaintiff s members.

          125.   No Defendant is exempt from liability under R.I. Gen. L. ç 23-19.14-7.

    COTINT IV     - I,IABII,ITY   TINDER THE                E ISLAND HAZARDOUS WASTE
                                        MANAGEMENT ACT

          126.   This claim is for cost recovery andlor contribution under theHazardous Waste

  Management Act, R.I. Gen. L. $$ 23-19.1-I (2014) et seq

          127.   Plaintiff repeats and realleges the allegations contained in each Paragraph above




                                                   35
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 36 of 41 PageID #: 36



   and incorporates them in this claim by reference as     if fully set out herein.

             I28.   Pursuant to the Consent Decree, Plaintiff s members have resolved Site    liability

  they may have to the United States and the State of Rhode Island regarding remedial work and

  response costs and have established their right to seek cost recovery and contribution from third

  parties, including from Defendants, for all past and future response costs associated with the

   Site.

             129.   Each Defendant is a person who generated, owned, possessed, or by contract,

  agreement, or otherwise arranged for disposal or treatment, or amanged with a transporter for

  transport for disposal or treatment, andlor accepted for transport and selected the Site, hazardous

  wastes or hazards materials to the Site, thereby leading to the unpermitted disposal of hazardous

  waste under R.I. Gen. L. 5 23-19.1-4.

             130.   There were disposals of hazardous wastes at the Site within the meaning of R.I.

  Gen. L. $ 23-19.1-4(3).

             131.   No Defendant obtained    a   permit for such disposals under R.I. Gen. L. $ 23-

   19.1-10(a). Nor did any Defendant obtain a variance to a permit under R.I. Gen. L.23-19.1-

   I 1(a).


             132. Defendants are subject to absolute liability for the cost of containment, cleanup,

  restoration, and removal of the hazardous wastes, and for all damages, losses, or injuries,

  including environmental, which result directly or indirectly from the discharge under R.I. Gen.

  L. ç 23-t9.t-22.

             COIINT V    - I,IARII,ITY F'OR DAMAGES             UNDER R.I. GEN. L. E 46.12

             133.   This claim is for damages under R.I. Gen. L. $$ 46-12-l et seq

             134.   Plaintiff repeats and realleges the allegations contained in each Paragraph above



                                                      36
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 37 of 41 PageID #: 37



  and incorporates them in this claim by reference as if      fully   set out herein.

            135.       Each Defendant placed or caused to be placed pollutants in a location where

  such pollutants were likely to enter or be discharged into waters, as defined in R.I. Gen. L.


  ç 46-12-t.

            136.       Such placement leading to pollutants entering any waters is prohibited under

  R.I. Gen. L. ç 46-12-5.

            I37.   Defendants are each liable to Plaintiff for any damage Plaintiff suffered as a

  result of such pollution under R.I. Gen.     L.5 46-12-21.

                       COIINT VI _ I,IARII,ITY      I           R.I. GEN. L.      S 46-13.1


            138.   This claim is for cost recovery and contribution under R.I. Gen. L. $$ 46-13.1-

  |   (2014) et seq.

            139.   Plaintiff repeats and realleges the allegations contained in each Paragraph above

  and incorporates them in this claim by reference as if      fully   set out herein.

            140.   There were unpermitted discharges of contaminants and/or toxic pollutants to

  groundwater at, from, or around the Site leading to a degradation of ambient water quality as

  defined in R.I. Gen. L. $ 46-13.1-3.

            I4l.   Each Defendant is liable for such discharges from the Site under R.I. Gen. L.


  s   46-r3.t-2

                   COIINT VII _ CONTRTRIITI                  UNDER R.I. GEN. L. S 10.6

            142.   This claim is for contribution under R.I. Gen L $$         l0-6-l (2013)   et seq.,

  providing for a right of contribution amongst joint tortfeasors. The purpose of the act is to

  prevent the injustice of one tortfeasor paying more than its fair share of damages.

            I43.   Plaintiff repeats and realleges the allegations contained in each Paragraph above



                                                        37
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 38 of 41 PageID #: 38



   and incorporates them in this claim by reference as   if fully set out herein.

          144.      Each Defendant is responsible to Plaintiffs for its proportionate share of any Site

  costs incurred or to be incurred as a result of the obligations established by the Consent Decree.

          145.     Plaintiffs have incurred, and will continue to incur, costs for cleanup and

  remediation of the Site pursuant to the Consent Decree and therefore are entitled to contribution

  from each Defendant for its proportionate share of such costs.

                   COUNT VIII     - DECLARATORY RELIEF                 UNDER CERCLA

          T46.     This claim is for declaratory relief under CERCLA$ 113(9)(2) (42 U.S.C.

   $ e613(g)(2))

          147.     Plaintiff repeats and realleges the allegations contained in each Paragraph above

  and incorporates them in this claim by reference as    if fully   set out herein.

          148.     There is a real and actual controversy between Plaintiff and each Defendant

  concerning the nature and extent of each Defendant's liability for and obligation to pay toward

  response costs in connection with the Site.

          149.     Plaintiff is entitled to a declaration that Defendants are liable to Plaintiff for

  each Defendant's equitable/proportionate share of response costs and obligations incurred and

  to be incurred by Plaintiff in relation to the Site.

           COUNT IX _ DECLARATORY RELIEF UNDER R.I. GEN. L. 8 9.30.1

          150.     This claim is for declaratory relief under R.L Gen. L. $ 9-30-1 (2014)

          151.     Plaintiffrepeats and realleges the allegations contained in each Paragraph above

  and incorporates them in this claim by reference as    if fully   set out herein.




                                                    38
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 39 of 41 PageID #: 39



          152.    There is a real and actual controversy between Plaintiff and each Defendant

  concerning the nature and extent of each Defendant's liability for and obligation to pay toward

  response costs in connection with the Site.

          153.    Plaintiff is entitled to a declaration that Defendants are liable to Plaintiff for

  each Defendant's equitable/proportionate share of response costs and obligations incurred and

  to be incurred by Plaintiff in relation to the Site.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

          (a)     As to the First Claim For Relief, enter judgment under Section 107(a) of

  CERCLA in favor of Plaintiff and against each Defendant, jointly and severally, for all past

  response costs incurred by the Group's members related to the Site, including performing the

  RI/FS at the Site pursuant to the AOC and investigating and identiffing other PRPs who

  contributed hazardous substances to the Site, and applicable interest as provided by law;

          (b)     As to the Second Claim For Relief, enter judgment under Sections 113(Ð(1),

   113(Ð(3XB), and 113(9)(2) of CERCLA in favor of Plaintiff and against each Defendant,

  severally, for contribution in an amount equal to its respective equitable share of all past and

  future response costs and any other costs incurred and to be incurred by the Group and/or its

  members in connection with the investigation, cleanup and remediation of the Site (including

  response costs for performing the remedy pursuant to the Consent Decree, performing the

  RI/FS pursuant to the AOC, investigating and identifring other PRPs who contributed

  hazardous substances to the Site, and any such costs attributable to any Orphan share, and

  applicable interest as provided by law;




                                                    39
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 40 of 41 PageID #: 40



          (c)     As to the Third through Seventh Claims For Relief, enter judgment in favor of

  Plaintiff and against each Defendant in an amount equal to such Defendant's respective

  equitable/proportionate share of all costs and obligations incurred and to be incurred by

  Plaintiff and its members in connection with the investigation, cleanup, and remediation of the

  Site;

          (d)     As to the Eighth and Ninth Claims For Relief, declare that each Defendant is

  liable to Plaintiff for its respective equitable/proportionate share of all past and future costs

  and other costs or obligations incurred and to be incurred by Plaintiff in connection with the

  investigation, cleanup, and remediation of the Site;

          (e)     Award Plaintiff its attorneys' fees and costs in prosecuting this action; and

          (Ð      Grant such other and further relief as the Court determines is just and proper.

                                             JURY DEMAND

          Plaintiff demands   a   trial by jury on all claims so triable.


                                             Respectfully submitted,

                                             PLAINTIFF

                                             PETERSON-PURITAN SITE OU 2 REMEDIAL
                                             ACTION GROUP

                                             By its Attorneys

                                             By: /s/ Patrick T. .Iones
                                                 Patrick T. Jones, Esq.
                                                 Ralph R. Liguori, Esq.
                                                 JONES KELLEHER LLP
                                                 One Center Place
                                                 Providence, RI 02903
                                                 (401) 273-0800
                                                 pjones@joneskell.com
                                                 rlieuori@i oneskell. com



                                                      40
Case 1:18-cv-00497-WES-PAS Document 1 Filed 09/06/18 Page 41 of 41 PageID #: 41




                                By:   /s/  Curti,c A
                                      Roy P. Giam;sso,pro hac vice petition pending
                                      Curtis A. Connors, pro hac vice petition pending
                                      GIARRUSSO, NORTON, COOLEY
                                      & McGLONE, P.C.
                                      Marina Bay
                                      308 Victory Road
                                      Quincy, MA 02171
                                      (617) 770-2e00
                                      rgiam¡sso@gncm.net
                                      cconnors@gncm.net



                                By    /s/ Winthrop A. Short
                                      Winthrop A. Short Jr., pro hac vice petition pending
                                      KRurveN & CnNor.es, P.C.
                                      One City Center
                                      11815 Fountain Way, Suite 400
                                      NewportNews, VA23606
                                      (7 57) 87 3 -6300 (Telephone)
                                      washort@kaufcan.com




  DATED: September 6, 2018




                                            4t
